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 4   Attorneys for Defendant
     JULIO PEREZ
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 7
                             IN THE UNITED STATES DISTRICT COURT
 8
                           FOR THE EASTERN DISTRICT OF CALIFORNIA
 9
10    UNITED STATES OF AMERICA,                 )   Case No. 1:14-CR-00269 AWI-BAM
                                                )
11                          Plaintiff,          )   STIPULATION TO CONTINUE STATUS
                                                )   CONFERENCE; ORDER THEREON
12    vs.                                       )
                                                )   Date: November 9, 2015
13    JULIO PEREZ,                              )   Time: 1:00 p.m.
                                                )   Judge: Barbara A. McAuliffe
14                          Defendant.          )
                                                )
15                                              )

16          IT IS HEREBY STIPULATED by and between the parties, through their respective
17   counsel, Assistant United States Attorney, Kathleen Servatius, Counsel for Plaintiff, Assistant

18   Federal Defender, Marc Days, Counsel for Defendant, Julio Perez, that the status conference

19   hearing currently set for October 13, 2014, at 1:00 p.m., may be rescheduled to November 9,

20   2015, at 1:00 p.m.

21          1. By previous order, this matter was set for a status conference hearing on October 13,

22   2015, at 1:00pm.

23          2. By this stipulation, the parties move to continue the status hearing to November 9,

24   2015, at 1:00 p.m., and to exclude time between October 13, 2015, and November 9, 2015 under

25   18 U.S.C. §3161(h)(1)(E) and (h)(7)(A) and (B)(iv).

26          3. The parties agree and stipulate, and request that the Court find the following:

27                  a. The Court is unavailable on the date previously set by the parties – October

28   13, 2015;
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 1                   b. Additional time is needed for defense investigation and preparation and plea
 2   negotiations.
 3                   c. The parties have agreed to continue the date for the status conference to
 4   November 9, 2015;
 5                   d. For the purposes of computing time under the Speedy Trial Act, 18 U.S.C.
 6   §3161, et seq., within which trial must commence, the time period of October 13, 2015, to
 7   November 9, 2015, inclusive, is deemed excludable pursuant to 18 U.S.C. §3161(h)(1)(E) and
 8   (h)(7)(A) and (B)(iv) because the ends of justice is served by granting the continuance and
 9   outweigh the best interests of the public and the defendant in a speedy trial, assures continuity of
10   counsel, and gives the defense and government a reasonable time for effective preparation
11   exercising due diligence.
12          4. Nothing in this stipulation and order shall preclude a finding that other provisions of
13   the Speedy Trial Act dictate that additional time periods are excludable from the period within
14   which a trial must commence.
15          IT IS SO STIPULATED.
16
17                                                         Respectfully submitted,
18                                                         BENJAMIN B. WAGNER
                                                           United States Attorney
19
20   Dated: September 8, 2015                              /s/ Brian Delaney
                                                           BRIAN DELANEY
21                                                         Assistant United States Attorney
                                                           Attorney for Plaintiff
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25   Dated: September 8, 2015                              /s/ Marc Days
                                                           MARC DAYS
26                                                         Attorneys for Defendant
                                                           JULIO PEREZ
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 1
 2                                             ORDER

 3            IT IS SO ORDERED. For the reasons set forth above, the 4th Status Conference is

 4   continued from October 13, 2015 to November 9, 2015 at 1:00PM before Judge McAuliffe.

 5   Time is excluded pursuant to 18 U.S.C. §3161(h)(1)(E) and (h)(7)(A) and (B)(iv).

 6
     IT IS SO ORDERED.
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     Dated:     September 9, 2015                 /s/ Barbara A. McAuliffe
 8                                        UNITED STATES MAGISTRATE JUDGE
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